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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ALICIA GEERLINGS, as the Parent and/or                :
Natural Guardian of QWG, a minor                      :
and                                                   :
ANDREW McLELLAN, as the Parent and/or                 :       Civil Docket No. 2:21-cv-04024
Natural Guardian of HM, a minor                       :
and                                                   :
SARAH MARVIN, as the Parent and/or                    :
Natural Guardian of HA, a minor                       :
and                                                   :
DAVID GOVERNANTI, as the Parent and/or                :
Natural Guardian of SG, a minor                       :
                                                      :
                         Plaintiffs,                  :
                                                      :
                  v.                                  :
                                                      :
TREDYFFRIN/EASTTOWN SCHOOL                            :
DISTRICT,                                             :
                                                      :
                         Defendant.                   :

                TREDYFFRIN/EASTTOWN SCHOOL DISTRICT’S RESPONSE IN
                OPPOSITION TO PLAINTIFFS’ REQUEST FOR A TEMPORARY
                  RESTRAINING ORDER AND PRELIMINARY INJUNCTION

         Tredyffrin/Easttown School District (the “District”) should not be restrained nor enjoined

from enforcing the Order issued by the Pennsylvania Department of Health (DOH) that requires

everyone to wear a mask in all PreK-12 schools in the Commonwealth. The Order (the “Order”

or “DOH Order”) is Exhibit 1 hereto. Plaintiffs, four parents of four students in the District,

have not asserted any facts that could allow this Court to hold that Plaintiffs are likely to succeed

on the merits of their claims that: (1) the DOH lacked the authority to issue the DOH Order; or

(2) the DOH Order and the District’s mandatory enforcement of the DOH Order infringes on




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Plaintiffs’ unasserted and unidentified medical conditions or religious beliefs.1 Indeed, several

courts, including the U.S. Supreme Court and the Sixth Circuit, have already held that

injunctions are not appropriate in cases like this.


         In addition, Plaintiffs cannot establish that they are likely to succeed on the merits of their

claims because, inter alia: (1) Plaintiffs did not join DOH or its Acting Secretary, necessary

parties to this litigation; (2) Plaintiffs cannot show that DOH lacked the requisite authority to

issue the Order; (3) this Court should abstain on even considering the DOH’s authority because

that issue is currently before the Commonwealth Court; 2 and (4) Plaintiffs lack standing because

they have not alleged any particularized individual injuries nor any sincerely held religious

beliefs. Further, Plaintiffs cannot establish the remaining elements necessary for a TRO and

injunction. For example, Plaintiffs cannot show an irreparable injury because at least three of the

students wore masks last year for some activities, and all of the students wore masks at some

point this school year. Likewise, it is obvious that granting preliminary relief will result in

greater harm to the District and the public in general, and is not in the public interest, because it

is likely to increase the spread of the virus, which could lead to the closing of schools within the

District, among other mitigation measures.


         Like we are seeing all over the United States right now, it is clear that Plaintiffs have

strong political objections to mask mandates, and are using the District and this litigation to vent


1
  Pursuant to Plaintiffs’ gofundme.com webpage, attached as Exhibit 2, Plaintiffs’ issues with
the DOH Order and masking in general appear to be political and not based on any specific
medical conditions or religious beliefs.
2
  The Republican leader of the Pennsylvania Senate and a group of parents filed a lawsuit in
the Commonwealth Court on September 3, 2021, seeking an injunction against the Order.
The Commonwealth Court has scheduled a hearing for September 16, 2021. The Docket is
attached as Exhibit 3.
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their political frustrations. But Plaintiffs’ political frustrations are not a sufficient bases for this

Court to enjoin the enforcement of the Order. Accordingly, and for the reasons more fully set

forth herein, Plaintiffs’ instant request for a TRO and injunction should be denied.


I.       FACTUAL BACKGROUND

         A.     The DOH Order.

         On August 31, 2021, in response to the COVID-19 pandemic and the rise of the Delta

variant, the Acting Secretary of DOH the DOH Order requiring “face coverings”3 to be worn in

all schools, “including school districts, brick and mortar and cyber charter schools, private and

parochial schools, career and technical centers, intermediate units, and early learning and other

child care settings.” See Ex. 1 and Pennsylvania Department of Education (PDE) Guidance

“Answer to FAQ” (attached as Exhibit 4). The Order went into effect on Tuesday, September 7,

2021, and will remain in effect until otherwise terminated. See Exhibit 1, p. 6. The Order

specifically requires that “each teacher, child/student, staff, or visitor working, attending, or

visiting a School Entity shall wear a face covering indoors, regardless of vaccination status”

except as provided in a specific exemption. See Exhibit 1, p. 4. Because Plaintiffs are students at

the District, this Response will focus on the Order as applied to the District’s students.

         The DOH Order enumerates eight exceptions to the face covering requirement. See Ex. 1

pp. 4-5. The majority of the exceptions are temporal in scope, simply allowing a student to



3
  According to the Order, ‘“Face covering’ means covering of the nose and mouth with material
that is secured to the head with ties, straps, or loops over the ears or is wrapped around the lower
face. A ‘face covering’ can be made of a variety of synthetic or natural fabrics, including cotton,
silk, or linen. A ‘face covering‘ may be factory-made, sewn by hand, or be improvised from
household items, including, but not limited to, scarfs, bandanas, t-shirts, sweatshirts, or towels.
While procedural and surgical masks intended for health care providers and first responders,
such as N95 respirators, meet those requirements, these specialized masks should be reserved for
appropriate occupational and health care personnel.” See Ex. 1, p. 3.
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“remove” a face covering in limited circumstances for a short period of time, including when

working alone and isolated, eating and drinking, and participating in sports. See Exhibit 1, pp. 4-

5; Exhibit 4, pp. 2-3. (Question - Under what circumstances are students permitted to remove

their face coverings?). The Order includes a medical exception permitting the District to exempt

students from wearing a face covering:

                If wearing a face covering would either cause a medical condition,
                or exacerbate an existing one, including respiratory issues that
                impede breathing, a mental health condition or a disability.
See Exhibit 1, p 4. The Order explicitly requires that the District “exhaust” “all alternatives to a

face covering, including the use of a face shield” before granting an exception. See Exhibit 1 p.

4. Importantly however, under the Order a “face shield” is not a ”face covering,” but rather, an

“alternative to a face covering” because:

                The Centers for Disease Control and Prevention (CDC) has
                advised there is currently not enough evidence to determine how
                much protection a face shield provides to individuals around the
                person wearing the face shield because of gaps where respiratory
                droplets may escape. The CDC does state, however, that face
                shields may still be an option in situations where wearing a cloth
                face covering is not otherwise feasible.
See Exhibit 1, p. 3 (emphasis added).

         To determine whether a student qualifies for the “medical exception” (or seemingly

whether an alternative to a face covering is appropriate), PDE directed the District to “follow

their established processes for determining student eligibility” under Section 504 of the

Rehabilitation Act or the Individuals with Disabilities Education Act (“IDEA”) “for such

medical or mental health condition or disability.” See Exhibit 4, p. 4 (Question - *Are individuals

required to show proof of an exception to the Order?). The IDEA and Section 504 require the

District to consider medical information from a student’s medical provider. See 34 CFR §

300.304(4) (requiring that “the child is assessed in all areas related to the suspected disability,
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including, if appropriate, health, vision, hearing, social and emotional status, general intelligence,

academic performance, communicative status, and motor abilities.”); 34 CFR § 104.35(c) (“In

interpreting evaluation data and in making placement decisions, a recipient shall (1) draw upon

information from a variety of sources, including aptitude and achievement tests, teacher

recommendations, physical condition, social or cultural background, and adaptive behavior, (2)

establish procedures to ensure that information obtained from all such sources is documented and

carefully considered, (3) ensure that the placement decision is made by a group of persons,

including persons knowledgeable about the child, the meaning of the evaluation data, and the

placement options, and (4) ensure that the placement decision is made in conformity with

104.34.”). Additionally, Pennsylvania law states that “parents should include available relevant

medical records along with their written request for the provision of services” when requesting

that the District evaluate the student under Section 504. See 22 Pa. Code § 15.6(b).

         B.     PDE Requires Strict Enforcement of the Order by the District at the Risk of
                Significant Consequences.

         After the DOH issued the Order, PDE issued explicit and assertive regulations, requiring

the District to enforce the Order. PDE characterizes the Order as a “legal mandate” and

specifically states that “school entities are expected to enforce the Order as they do other state

laws and school rules and policies.” See Exhibit 4, p. 4 (Question - *What should a school entity

do when an individual, who does not meet the allowable exceptions, refuses to wear a mask?).

PDE has also listed consequences for not complying with the Order —

         What are the potential consequences if a school entity fails to comply with the
         Order?

         School officials who fail to adhere to the order could lose the protection of sovereign
         immunity and may personally face lawsuits from those who may be affected by any
         official’s attempt to ignore the order. Failing to implement or follow the control
         measures may expose individuals to personal liability under 42 Pa.C.S § 8550 (relating
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         to willful misconduct), as well as other remedies as provided by law. Failure to
         implement and follow the control measures under the Order also subjects a person to the
         penalty provisions of the Disease Prevention and Control Law of 1955.
         Non-compliance with the Order for child care providers licensed by the Department of
         Human Services will be cited under 55 Pa. Code §3270.14, §3280.14 (relating to
         compliance with pertinent laws and regulations) as well as 55 Pa. Code §3270.21,
         §3280.20, and §3290.18 (relating to general health and safety).

See Exhibit 4, p. 3.

         On September 8, 2021, the day Plaintiffs commenced this action, the Chester County

Intermediate Unit issued new guidance to the District stating that PDE has and will issue

warnings to boards of school directors that do not comply with the DOH Order. PDE, through

the CCIU, cautioned the District that if they fail to enforce the DOH Order board members could

face liability under the 42 Pa.C.S.A. § 8550, and other repercussions, including but not limited

to, reference to the United States Department of Education’s Office for Civil Rights. See Exhibit

5. Indeed, as of August 30, 2021, the Department of Education’s Office of Civil Rights opened

investigations in five states that explored whether state officials who prohibited face masking

indoors violated federal law. See Exhibit 6. In particular,

         “OCR sent letters [] to the chief state school officers of Iowa, Oklahoma, South Carolina,
         Tennessee, and Utah, outlining how prohibitions of universal indoor masking prevent
         school districts from implementing health and safety policies that they determine are
         necessary to protect students from exposure to COVID-19, including those with
         underlying medical conditions related to their disability. OCR is concerned that state
         mask restrictions on schools and school districts "may be preventing schools…from
         meeting their legal obligations not to discriminate based on disability and from providing
         an equal educational opportunity to students with disabilities who are at heightened risk
         of severe illness from COVID-19,” the letter states.

See Exhibit 6.

         Most recently, on Friday September 10, 2021, PDE issued additional guidance, again

emphasizing that the District must comply with the Order and failure to do so may expose the

District to liability. See Exhibit 7. The email from PDE included a link to a letter sent to an


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unnamed District that is “flagrantly violating and does not intend to comply with the Order.” See

Exhibit 8. Additionally, PDE addressed the medical exception and emphasized that (1) the

masking requirement is not optional under the Order; (2) accepting a parent’s request for an

exemption without supporting evidence that a student has a qualifying medical, mental health

condition, or disability violates the Order; and (3) a parent’s opposition to the Order is not a

recognized exception. See Exhibit 7. PDE stated —

                 Relatedly, this Order is not a mask optional policy. Any school
                 entity simply permitting a parent’s sign-off without evidence that
                 the student has a medical or mental health condition or disability
                 that precludes the wearing of a face covering is not in
                 compliance with the Order. Under the Order, and as set forth in
                 PDE’s Answers to FAQs, school entities must require all
                 individuals, two years of age and older, to wear face coverings
                 unless the individual has a medical or mental health condition or
                 disability that precludes the wearing of a face covering. In
                 accordance with Section 3 of the Order, before an individual is
                 excepted from the Order, all alternatives to a face covering,
                 including a face shield, are to be exhausted. It is recommended that
                 any exception be in accordance with eligibility under Section 504
                 of the Rehabilitation Act or IDEA for such medical or mental
                 health condition or disability. School entities should follow their
                 established processes for determining student eligibility under
                 those laws, including any medical documentation that they would
                 normally require. There are exceptions to the Order; however, a
                 parent’s opposition to the Order is not one of them.

See Exhibit 7.

         C.      The District has an Established Process to Implement Requests for
                 Exceptions to the DOH Order.

         In evaluating whether a student is eligible for special education services pursuant to an

IEP under the IDEA or a 504 Agreement under Section 504, the District routinely requests

medical information from the student’s medical provider. The District also routinely requests

that the student’s parents sign a release, enabling the District to communicate directly with the

medical provider. This is entirely consistent with the DOH Order and guidance from PDE.
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         For students requesting medical exceptions to face coverings, the District requests the

student’s medical provider to state whether the student’s wearing of a face covering would either

cause a medical condition, or exacerbate an existing one, including respiratory issues that impede

breathing, a mental health condition or a disability and to specify the student’s applicable

medical condition, health condition, or disability. The District also requests that the student’s

parent allow the District to communicate with the medical provider. Requesting such information

is consistent with the District’s special education practice and allows the District to correctly and

fairly evaluate whether a student qualifies for an exception. The District is aware that at least one

“medical practice” has issued4 a blank medical exemption/exception for families to submit to the

District to request an exemption under the Order. See Exhibit 9. That exemption/exception form

is actually a complaint about face coverings, CDC guidance, and more, opposed to an individual

determination of the medical impact face coverings have on the student subject to the

exemption/exception. Thus, there is a clear need to ensure that the District has specific

information about a student’s medical condition, health condition, or disability.

         D.     Plaintiffs Have not Identified any Medical Condition or Religious Beliefs.

          No Plaintiff has provided any information or documentation of a medical condition,

health condition, or disability that could be impacted by face coverings. And no Plaintiff has

provided evidence of a closely held religious belief. Moreover, three of the students at issue

wore face mask during the 2020-2021 school year, and all wore masks at some point during the

current school year.




4
 As of 9/12/21, the form was no longer linked on the medical practice’s website; however, the
District has included a copy of the website as of 9/9/21, when the form was linked to the
homepage as part of Exhibit 9.
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II.      ARGUMENT

         A.     PLAINTIFFS CANNOT SATISFY THE VERY HIGH STANDARD
                NECESSARY FOR THIS COURT TO ISSUE A TRO OR A
                PRELIMINARY INJUNCTION. 5

         “A preliminary injunction is an extraordinary remedy never awarded as of right.” Winter

v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008). “. . . [U]pon an application for preliminary

injunction, to doubt is to deny.” Madison Square Garden Corp. v. Braddock, 90 F.2d 924, 927

(3d Cir. 1937). There are four factors to consider in ruling on a motion for preliminary

injunction: “(1) whether the movant has shown a probability of success on the merits; (2)

whether the movant will be irreparably injured if relief is denied; (3) whether granting

preliminary relief will result in even greater harm to the nonmoving party; and (4) whether

granting the preliminary relief is in the public interest.” Crissman v. Dover Downs Ent. Inc., 239

F.3d 357, 364 (3d Cir. 2001). As discussed below, not one of the four factors weighs in

Plaintiffs’ favor.

         Indeed, other courts have refused to grant preliminary injunctions on the grounds that the

COVID-19 pandemic is an emergency situation during which “summary administrative action”

is appropriate. Hernandez v. Grisham, 508 F.Supp.3d 893, 979–80 (D.N.M. 2020) (collecting

cases). In denying a plaintiff’s request to preliminarily enjoin COVID-19 restrictions related to

religious worship, Chief Justice Roberts wrote:

                The precise question of when restrictions on particular social
                activities should be lifted during the pandemic is a dynamic and
                fact-intensive matter subject to reasonable disagreement. Our
                Constitution principally entrusts the safety and the health of the
                people to the politically accountable officials of the States to guard
                and protect. When those officials undertake to act in areas fraught

5
 The only difference between a temporary restraining order and a preliminary injunction is
notice. Fed. R. Civ. P. 65.; Corp. Synergies Grp., LLC v. Andrews, 775 Fed.Appx. 54, 61 (3d
Cir. 2019).
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                with medical and scientific uncertainties, their latitude must be
                especially broad. Where those broad limits are not exceeded, they
                should not be subject to second-guessing by an unelected federal
                judiciary, which lacks the background, competence, and expertise
                to assess public health and is not accountable to the people.
                That is especially true where, as here, a party seeks emergency relief
                in an interlocutory posture, while local officials are actively shaping
                their response to changing facts on the ground.
S. Bay United Pentecostal Church v. Newsom, 140 S.Ct. 1613, 1614, 207 L.Ed.2d 154 (2020)

(internal citations and punctuation omitted). When the case will require a “fact-intensive”

inquiry that is “subject to reasonable disagreement” it is inherently inappropriate for imposition

of a temporary restraining order. Id.

                1.      Plaintiffs are Not Likely to Succeed on the Merits of Their Claims.

         The Sixth Circuit recently considered and rejected a strikingly similar request for TRO in

Resurrection Sch. v. Hertel, No. 20-2256, 2021 WL 3721475 (6th Cir. Aug. 23, 2021). In

Resurrection, the plaintiffs, a catholic elementary school and two parents of students enrolled in

the school, filed for a TRO and preliminary injunction seeking to enjoin state officials from

enforcing a public health order that required all persons five years and older to wear a mask

indoors while attending private and public K-12 schools. Id. at 1, 5-6. The first parent claimed

mask wearing negatively affected his child’s ability to pay attention and engage with religious

instruction at Resurrection. Id. at 5. The second parent claimed that her child was unable to wear

a mask because of breathing issues, but her child’s pediatrician determined that the child did not

qualify for an exemption. Id. The public health order contained “universal” exceptions, including

medical intolerance, eating and drinking, swimming, and receiving a medical treatment that were

available to the students. Id. at 13. However, the plaintiffs alleged that that the Order violated

their rights to free exercise, equal protection, and substantive due process. Id. at 5-6.


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         The court denied the plaintiffs’ motion for a preliminary injunction because the plaintiffs

were unlikely to succeed on the merits of the free-exercise and equal protection claims. Id. at 6.

The Sixth Circuit affirmed the trial court’s denial of the preliminary injunction for both claims

(and a substantive due process claim). For the free exercise claim, the Sixth Circuit held that the

public health orders were subject to rational-basis review (and not strict scrutiny) because the

order was “neutral and of general applicability” because it applied to all children in Michigan

schools; it was “not so riddled with secular exceptions as to fail to be neutral and generally

applicable”; and the exceptions were “narrow and discreet.” Id. at 13. Under rational basis

review, a public entity need only show that the regulation ‘“bear[s] some rational relation to a

legitimate state interest.’”6 (internal citations omitted). Applying the standard, the Sixth Circuit

held that order was rationally related to a legitimate government interest – controlling the spread

of COVID-19. Id. at 15.

         Here, the facts alleged by Plaintiffs are nearly identical to those in Resurrection – a health

department issued a face masking requirement for all schools that includes universal, and

narrowly tailored exceptions (i.e. eating and drinking). Thus, the Order here is also subject to

rational basis review because it is of neutral and of general applicability. In applying rational

basis review, it is clear that the DOH Order bears relation to a legitimate state interest – curbing

the spread of COVID-19, as the Delta variant proves that it is extremely contagious, including




6
 The above-cited rational basis test is derived from Craigmiles v. Giles, 312 F.3d 220, 223 (6th
Cir. 2002); however, the rational basis test as cited above is also applied by the Third Circuit. See
Brown v. City of Pittsburgh, 586 F.3d 263, 284 (3d Cir. 2009) (“Under the Supreme Court's
decision in Smith, a neutral, generally applicable law is subject only to rational-basis review,
which ‘requires merely that the action be rationally related to a legitimate government
objective.’”) (internal citation omitted).
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among children. See Exhibit 10. Thus, Plaintiffs will not succeed on the merits of their free

exercise claim.

         Plaintiffs rely on FOP Newark to allege that strict scrutiny should be applied. But the

facts of that case are far different than the facts here. In FOP, the police department denied a

religious exemption after the plaintiffs, devout Sunni Muslims who sincerely believed that they

were under a religious obligation to grow their beards, and “made a value judgment that secular

(i.e., medical) motivations for wearing a beard are important enough to overcome its general

interest in uniformity but that religious motivations are not.” 170 F.3d 359, 366 (3d Cir. 1999).

Importantly, at no time before or after the Order, or even now in this litigation, have Plaintiffs

ever identified any religious belief that somehow does not permit the wearing of masks. Three

of the students wore face masks during the 2020-2021 school year either during in-person

instruction or during District-related sporting events.

                        a.      Plaintiffs Failed to Join a Necessary Party – the DOH and/or
                                the Acting Secretary of DOH.

         Plaintiffs are also not likely to succeed because they failed to join a necessary party, the

Acting Secretary of Health and DOH. A person satisfies the definition of a “necessary party”

when “the person claims an interest relating to the subject of the action and is so situated that the

disposition of the action in the person’s absence may . . . as a practical matter impair or impede

the person's ability to protect that interest.” Fed. R. 19(a)(2 (a)(2). Administrative agencies are

typically necessary and indispensable parties when their decisions are under review. See e.g.

Queens County Group of Sav. & Loan Ass'ns v. Home Loan Bank Bd., E.D.N.Y.1952, 104

F.Supp. 396 (the Board was indispensable party in action for seeking declaratory judgment that

its actions were illegal); Hartmann v. Fed. Reserve Bank of Philadelphia, 55 F.Supp. 801, 809

(E.D. Pa. 1944) (collecting cases) (Secretary of the Treasury was indispensable to action against
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bank to unfreeze bank account that had been frozen by Secretary of Treasury.); McQuilken v. A

& R Dev. Corp., 510 F.Supp. 797, 802 (E.D. Pa. 1981). By issuing its August 31, 2021, Order,

the DOH claimed an interest in the matter that is squarely the subject of this litigation. Because

they have an interest in the subject of this litigation, and disposition of this matter without their

presence will impede their ability to protect that interest, this matter must not proceed unless the

Secretary and DOH are parties.

                        b.     The DOH and/or the Acting Secretary of DOH had Authority
                               to Issue the Order.

         The Plaintiffs are also not likely to succeed because the Acting Secretary and DOH had

the authority to take any disease control measure appropriate to protect the public from the

spread of infectious disease. See 35 P.S. § 521.5; 71 P.S. §§ 532(a), and 1403(a); 28 Pa. Code §

27.60. DOH properly exercised that authority in requiring face coverings for the

Commonwealth’s vulnerable and largely unvaccinated population of school children.

                        c.     This Court Should Abstain from Ruling on the Issue.

         Abstention is appropriate because the question of the Secretary of Health’s authority to

issue its August 31, 2021 Order is pending before a state judge in another matter. On September

8, 2021, the Attorney General for the Commonwealth of Pennsylvania responded to a petition for

preliminary injunction in the matter of Jacob Doyle Corman, III et al., v. Acting Secretary of the

Pennsylvania Dept. of Health, Commonwealth Court of Pennsylvania, No. 291 MD 2021.

Corman’s petition for preliminary injunction seeks to invalidate the Secretary’s Order, requiring

students to wear face coverings. A preliminary injunction hearing is scheduled for September 16,

2021.

         A federal court may stay or dismiss a pending federal action when there is a parallel

ongoing state court proceeding. See Colorado River Water Conservation District v. United
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States, 424 U.S. 800, 96 S.Ct 1236, 47 L.Ed.2d 483 (1976). Abstention is appropriate “in cases

presenting a federal constitutional issue which might be mooted or presented in a different

posture by a state court determination of pertinent state law.” Colorado River Water

Conservation Dist. v. U.S., 424 U.S. 800, 814, 96 S.Ct. 1236, 1244 (1976). Because a parallel

state court proceeding commenced prior to the filing of this action will answer the question of

the Department of Health’s authority to issue the order, this matter should be stayed or dismissed

pending the outcome of the proceedings before the Commonwealth Court.

                        d.     Plaintiffs Lack Standing.

         Plaintiffs are not even likely to establish that they have standing to bring their claims.

Article III courts can only adjudicate live “cases” and “controversies”—disputes that can be

“appropriately resolved through the judicial process” as opposed to the political or legislative

spheres. Parker v. Wolf, 506 F.Supp.3d 271, 291 (M.D. Pa. 2020) citing Lujan v. Defs. of Wildlife,

504 U.S. 555, 560, 112 S.Ct. 2130, 2136, 119 L.Ed.2d 351 (1992). Standing requirements

originate from the doctrine of separation of powers and serve to prevent the judicial process from

being used to usurp the powers of the political branches. Parker v. Wolf, 506 F.Supp.3d 271, 280

(M.D. Pa. 2020). Plaintiffs do not have standing for two independent reasons; (1) they do not have

particularized individual injuries; and (2) they failed to allege a sincerely held religious belief.

                        e.     Plaintiffs do not Assert Particularized Injury.

         Plaintiffs do not have a particularized or redressable injury because the injuries, if any,

caused by face coverings are identical to those suffered by every other school child in the

Commonwealth of Pennsylvania. Article III standing requires an injury that is “concrete,

particularized, and actual or imminent; fairly traceable to the challenged action; and redressable

by a favorable ruling.” Clapper v. Amnesty Int'l USA, 568 U.S. 398, 409, 133 S.Ct. 1138, 185

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L.Ed.2d 264 (2013). These requirements originate from separation-of-powers principles and “. . .

prevent the judicial process from being used to usurp the powers of the political branches.” Parker

v. Wolf, 506 F.Supp.3d 271, 280–81 (M.D. Pa. 2020) citing Clapper at 408, 133 S.Ct. 1138.

         For an injury to be particularized, the alleged injury must “affect the plaintiff in a personal

and individual way.” Lujan, 504 U.S. at 560, 112 S.Ct. 2130. A law that does not distinctly affect

the plaintiff, but is common to all members of the public cannot support standing. See Bognet v.

Secretary Commonwealth of Pennsylvania, 980 F.3d 336, 349 (3d Cir. 2020). Here, because the

Order does not distinctly affect Plaintiffs, but affects all school-aged children in the state of

Pennsylvania it is undifferentiated and common to all members of the public, and therefore cannot

support standing. See Parker v. Wolf, 506 F.Supp.3d 271, 287–88 (M.D. Pa. 2020) (refraining

from enjoining enforcement of Governor Wolf’s mask mandate.)

                        f.      Plaintiffs Failed to Plead a Sincerely Held Belief that is Religious
                                in Nature.

         As discussed above, Plaintiffs have not pleaded a sincerely held religious belief. The

Free Exercise Clause of the First Amendment of the federal Constitution guarantees the freedom

of religious belief. To be entitled to relief under the First Amendment and Equal Protection

clause, “a court must first ‘decide whether the beliefs avowed are (1) sincerely held, and (2)

religious in nature, in the claimant's scheme of things.’” Daley v. Lappin, 555 F. App'x 161, 164

(3d Cir. 2014) (quoting Africa v. Pennsylvania, 662 F.2d 1025, 1029–30 (3d Cir.1981)). To

determine whether a belief is religious in nature, a court must determine whether a belief is

“based on purely secular considerations" or “rooted in religious belief.” See Wisconsin v. Yoder,

406 U.S. 205, 215 (1972) (“A way of life, however virtuous and admirable, may not be

interposed as a barrier to reasonable state regulation of education if it is based on purely secular

considerations; to have the protection of the Religion Clauses, the claims must be rooted in
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religious belief.”). In Yoder, the Supreme Court held that Wisconsin’s compulsory attendance

laws for children up to the age of sixteen violated the free exercise of the Amish religion. Id. In

doing so, the Court relied upon the record facts that demonstrated that the “way of life of the

Amish is not merely a matter of personal preference, but one of deep religious conviction.” Id. at

215-16 (emphasis added). The Court distinguished the way of life founded upon the religious

beliefs of the Amish faith from a “way of life, however virtuous and admirable, … based upon

purely secular considerations” which would not be entitled to constitutional protection. Id. at

215. Indeed, there may be times when a “litigant[] can make no credible showing that the

affected practice is either central or important in their religious scheme.” Len Combs v. Homer

Ctr. Sch. Dist., 468 F. Supp. 2d 738, 770 (W.D. Pa. 2006), aff'd in part, vacated in part,

remanded, 540 F.3d 231 (3d Cir. 2008) (per curiam), cert. denied, 129 S. Ct. 1013 (2008)

(internal citations omitted). “In such cases, the de minimis burden imposed by the challenged law

is not constitutionally cognizable.” Id. In determining whether a plaintiff has asserted religious

beliefs courts —

                may also consider whether the litigants' beliefs find any support in the religion to
                which they subscribe, or whether the litigants are merely relying on a self-serving
                view of religious practice…. This inquiry is not a matter of deciding whether
                appellants' beliefs accord in every particular with the religious orthodoxy of their
                church…. . Nor is it a matter of adjudicating intrafaith differences in practice or
                belief.... Instead, a court may determine whether the litigants' views have any
                basis whatsoever in the creed or community on which they purport to rest their
                claim.
Id.
         Here, Plaintiffs have never told the District what religious beliefs or religious practice is

impacted mask wearing. They have not even asserted one in the Complaint. Thus, Plaintiffs have

no sincerely held religious belief that is impacted by the Order. Even if Plaintiffs articulate a

sincerely held belief that is religious in nature, Plaintiffs failed to plead how the Order infringes

upon that belief.
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                        g.     The District has the authority to issue its Health and Safety
                               Plan and to require masking.

         Plaintiffs admit in their Complaint that, “the August 31, 2021 Order apparently

supersedes the School District’s Covid-19 Mitigation Plan. However, if the August 31, 2021

Order is found to be invalid, it is likely that the School District will resume enforcing the Covid-

19 Mitigation Plan.” (Doc 1, p. 8 ¶35). Thus, because the Order is in effect, the Health and

Safety Plan is not at issue. Further, there is no showing that the Order will become invalid soon,

creating no exigent circumstance that would warrant grant of a TRO or injunction.

         Regardless, the District has the authority to implement masking under its Health and

Safety Plan. See Section 2001(i)(1) of the American Rescue Plan (“ARP”) (requiring Districts to

implement health and safety plans) and 24 P.S. §5-510 (“the board of school directors in any

school district may adopt and enforce such reasonable rules and regulations as it may deem

necessary and proper, regarding the management of its school affairs…”).

                        h.     The Court should ignore Plaintiffs’ argument that face
                               coverings are medical devices subject to FDA approval because
                               it is utterly irrelevant to the proceeding, and it is factually
                               inaccurate.

         It is unclear why Plaintiffs include this argument based on FDA certification of medical

devices. It has no bearing on their claim on their argument that their children should not be

required to wear face coverings to school because face coverings have not been approved by the

FDA. This argument is legally and factually erroneous. First the FDA did not rely upon 21

U.S.C. § 360bbb-3(e)(1)(A)(ii)(I-III) to issue its Enforcement Policy for Face Masks and

Respirators During the Coronavirus Disease (COVID-19) Public Health Emergency (Revised)

Docket No. FDA-202-D-1138. Instead, the FDA relied upon section 701(h)(1)(C) of the Federal

Food, Drug, and Cosmetic Act (FD&C Act) (21 U.S.C. 371(h)(1)(C)) and 21 CFR 10.115(g)(2)),


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which allows the FDA to set forth changes in “policy that are of more than a minor nature,

complex scientific issues, or highly controversial issues” after either ensuring public

participation, or determining that public participation is not feasible or appropriate.

         Second, on a factual level, the FDA also has not approved clothes, and water bottles –

devices that protect children from spreading germs, and dehydration respectively. However,

there is no uproar about the District’s requirement that student be clothed or its encouragement

that students stay hydrated. No parent is arguing they shouldn’t have to put pants on their

children when sending them to school on the grounds that pants haven’t been approved by the

FDA, and no parent would question that the school district has a right to require students to wear

clothes or bring water bottles to school. Likewise, the District can require students wear face

coverings pursuant to the Order or another applicable policy / Health and Safety Plan.

                2.      Plaintiffs will not Suffer an Irreparable Injury.

         Plaintiff must show that the threat of injury-in-fact is “actual and imminent, not

conjectural or hypothetical.” ZF Meritor, LLC v. Eaton Corp., 696 F.3d 254, 301 (3d Cir. 2012).

Plaintiffs have not alleged any imminent injury that is not conjectural or hypothetical. Indeed

upon information and belief, three plaintiffs wore masks last year either during in-person

instruction (SG) or during sporting events (QWG and HM).

                3.      Any potential harm to Plaintiff is Outweighed by Harm to the General
                        Public.

         In matters related to the Commonwealth of Pennsylvania’s response to COVID-19,

plaintiffs have been unable to show that their individual harm outweighs the “potential harm to

the general public.” The court in Phila. Rest. Owners Against Lockdown, LLC v. Kenney,

acknowledged that restauranteurs were likely to be harmed by Governor Wolf’s May 19, 2020

order to stop non-essential business. CV 20-5809, 2020 WL 6866560, at *1 (E.D. Pa. Nov. 20,
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2020). However, because the benefit to the public of slowing the spread of COVID-19

outweighed the potential harm to the plaintiffs, the court denied the restauranteurs’ petition for

temporary restraining order. Id. Because, as discussed in the DOH Order, face coverings will

help keep schools open by preventing the spread of COVID-19, the benefit to the Plaintiff of

voiding the DOH Order is significantly lower than the benefit to the general public of enforcing

the order.

                4.      The Preliminary Relief Requested is not in the Public Interest.

         When plaintiffs in Minnesota Voters All. v. Walz claimed mask rules harmed their ability

to vote in person, the district court reasoned, “it is far more likely that enjoining enforcement of

[the mask requirement] would seriously disrupt the upcoming election by discouraging voter

turnout and limiting the number of people willing to staff polling places.” 492 F.Supp.3d 822, 840

(D. Minn. 2020), appeal dismissed, 20-3072, 2020 WL 9211131 (8th Cir. Nov. 9, 2020). Likewise,

in the instant matter, if the face covering order is disrupted, numerous students who hardly feel

safe going to school in the present environment may be unable to attend school, and teachers will

be less willing to expose themselves to students, many of whom are ineligible for vaccination.

Further, it is generally accepted that mask wearing slows the transmission of the virus. If there is

a significant enough uptick in transmission, students may have to quarantine and buildings may

have to be closed.

         Therefore, because Plaintiffs have not established any of the four criteria for a

preliminary injunction, their motion for preliminary injunction should be denied.




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III.     CONCLUSION

         Wherefore, Defendant requests that this Court deny Plaintiffs’ Request for a TRO and

Preliminary Injunction.


                                                     Respectfully submitted,

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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ALICIA GEERLINGS, as the Parent and/or           :
Natural Guardian of QWG, a minor                 :
and                                              :
ANDREW McLELLAN, as the Parent and/or            :      Civil Docket No. 2:21-cv-04024
Natural Guardian of HM, a minor                  :
and                                              :
SARAH MARVIN, as the Parent and/or               :
Natural Guardian of HA, a minor                  :
and                                              :
DAVID GOVERNANTI, as the Parent and/or           :
Natural Guardian of SG, a minor                  :
                                                 :
                       Plaintiffs,               :
                                                 :
                v.                               :
                                                 :
TREDYFFRIN/EASTTOWN SCHOOL                       :
DISTRICT,                                        :
                                                 :
                       Defendant.                :


                                 CERTIFICATE OF SERVICE

The undersigned certifies that a true and correct copy of the foregoing RESPONSE IN

OPPOSITION TO PLAINTIFFS’ REQUEST FOR A TEMPORARY RESTRAINING ORDER

AND PRELIMINARY INJUNCTION was served upon all counsel of record via CM/ECF and

email upon:


                                        Gary Samms
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                                                 Respectfully submitted,

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